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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

OBADIAH OSEKO KEGE
CASE NO.: 8:20-CV-01066-TDC
Plaintiff,
DEFENDANT NAMESILO, LLC’S
V. AND DEFENDANT TUCOWS INC.
JOINT MEMORANDUM IN SUPPORT
NAMESILO, LLC et al., OF ITS MOTION TO DISMISS
Defendants.

I. Introduction

Pursuant to the Court's suggestion to efficiently address the issues raised in this Action,
the reasoning set forth in the concurrent Motion to Dismiss under Rule 12 filed by GoDaddy
LLC (the "GoDaddy Brief"), and in the Motion to Dismiss for Lack of Personal Jurisdiction filed
by Dynadot, applies mutatis mutandis to the facts alleged in relation to Defendants Tucows and
Namesilo, and the Defendants therefore adopt in full the arguments set forth in briefing filed by

their fellow Defendants.

II. Counts (i)-(v)

The current operative amended Complaint does not appear to actually allege counts
denominated therein as (1i)-(v) in Paragraphs 1-3 against the registrar defendants. Defendants
Tucows and Namesilo agree with and hereby adopt and incorporate the arguments presented in
the GoDaddy Brief. That brief asserts that this is precisely the type of action that Section 230 of
the Communications Decency Act was designed to address—specifically, the impracticality of
holding service providers liable as publishers or speakers with respect to information made
accessible through content-neutral technical services.

It seems that the GoDaddy Brief may have addressed counts (1)-(v) out of an abundance

of caution due to imprecise drafting in later sections of the operative Complaint, such as
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Paragraph 41, which refers to "The Defendants Scott Breitenstein, Josh Jackson, George Ring,
and other Defendants currently Concealed by GoDaddy.com LLC..."

Further efficiencies may be achieved by requiring Plaintiff to clarify whether he has, as
Tucows and Namesilo believe, intended to drop the registrar defendants categorically from
counts (1i)-(v) based on the Plaintiff's evolving understanding of CDA Section 230. To the extent
that Tucows and Namesilo may be mistaken, the reasoning of the GoDaddy Brief should apply
with respect to any claim that stands or falls on speaker liability and is thus barred by CDA
Section 230, particularly concerning expired domain names for which Tucows and Namesilo
merely provided neutral technical services. This point has been previously raised in this Action
by Tucows (Docket #21, "Notice by Tucows Inc Intent to File a Motion") and by Namesilo
(Docket #61, Motion to Dismiss by Namesilo).

Furthermore, while Tucows and Namesilo question whether the Plaintiff has actually
alleged counts (i)-(v) against the registrar defendants, there are no substantial factual distinctions
between the Plaintiffs allegations as they relate to Tucows and Namesilo. As such, nothing
justifies a different approach to dismissing these counts than what was proposed in the GoDaddy

Brief.

III. Counts (vi)-(vii)
Defendants Tucows and Namesilo fully concur and agree that the reasoning of the
GoDaddy Brief applies to the same counts as applied to Tucows and Namesilo, and hereby adopt

and incorporate the relevant sections of the GoDaddy brief.

IV. Personal Jurisdiction

Defendants Tucows and Namesilo likewise concur and agree with, and adopt the
reasoning set forth in the concurrently filed Motion to Dismiss by Dynadot on the basis of
personal jurisdiction, which applies to Tucows and Namesilo, subject to specific and non-
substantive factual distinctions and matters of geography.

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As extensively documented in Plaintiffs recurring attempts to serve various papers in
this Action, neither Tucows nor Namesilo are located in or conduct business in the State of
Maryland. Aside from the substantive deficiencies in Plaintiff's counts (vi) and (vii), the Plaintiff
does not allege any acts (or failure to act in accordance with a duty to act) by Defendants Tucows
or Namesilo in the State of Maryland, nor have those acts been intentionally directed from their
respective locations of operation toward or into the State of Maryland.

Defendants Tucows and Namesilo further note that in relation to specific jurisdiction, the
registrar defendants are engaged in providing domain name registration services, pursuant to the
forum selection clauses of their respective service agreements. These services are accessible via
the internet (either directly with Namesilo or through authorized service resellers, in the case of
Tucows—see Docket #36, Attachment 1, Declaration of Reg Levy). However, the Plaintiff's
claims do not arise from the registrar defendants’ domain name registration businesses.

Thus, even if it were argued that the registrar defendants’ services are accessible from within the
State of Maryland or transacted with residents of the State of Maryland, the Plaintiff is not
asserting that his injury stems from the provision of these domain registration services.

The Plaintiff does not allege to have been harmed by the registration of the various domain
names, which is the principal service the registrars provide via the internet.

Instead, the Plaintiff's clatms—though substantively flawed and liable to dismissal on all
counts—appear to assert that the registrar defendants had some duty to respond to informal,
extrajudicial demands for confidential customer information made by the Plaintiff prior to the
Action. Simply put, the Defendant registrars have no duty to provide such information absent
legal process and Plaintiff has identified no contractual, statutory, or common law support for the
existence of such a duty. Furthermore, this Court has already ruled on claims premised on the
Plaintiff's allegations that Tucows and Namesilo failed to disclose any information requested in
the context of appropriate legal process (Docket #40, Order denying motion to compel with
respect to Tucows; Docket #50, Namesilo response to Order). Any alleged actions or failures to
act forming a basis for Plaintiff's claims did not occur in this judicial district, did not arise from

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commercial activities arguably conducted by the Tucows or Namesilo in this judicial district, and

were not directed into this judicial district.

V. Conclusion

For the foregoing reasons, Defendants Tucows Inc. and Namesilo LLC respectfully
request that this Court grant their Motion to Dismiss the Plaintiff's Amended Complaint in its
entirety.

Dated: January 10, 2025 Respectfully submitted,

/s/ Stevan H. Lieberman
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CERTIFICATE OF SERVICE
I hereby certify that on this January 10, 2025 I did cause the foregoing documents to be
filed via the CM/ECF program into the docket of this matter, which filing caused service to be
made upon all counsel of record.

/s/ Stevan H. Lieberman
Stevan H. Lieberman

